 

Case 1:23-cv-00134-PJG ECF No.1, PagelD.1 Filed 12/28/22 Page 1 of 16
" MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

IN THE UNITED STATES DISTRICT COURT \e
FOR THE EASTERN DISTRICT OF MICHIGAN

 

R. (\ Gl oun Sa. Case: 2:22-cv-13136

Judge: Borman, Paul D.

MJ: Grand, David R.
(Write the full name of each plaintiff who is filing this Filed: 12-28-2022
complaint. If the names of all the plaintiffs cannot fit in PRIS GLOVER VS CITY OF BENTON HARBOR, ET AL (OP)
the space above, please write “see attached” in the space
and attach an additional page with the full list of names.) Jury Trial: O Yes O No

y. Cihy at Renton Vadoor, Benton Wolo Palice (check one)
Reoochment , Michael Shevern \dnason, Benen Coushy Sa

(Write the full name of each defendant who is being sued. If
the names of all the defendants cannot fit in the space above,
please write “see attached” in the space and attach an
additional page with the full list of names. Do not include
addresses here.)

 

 

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Complaint for Violation of Civil Rights
(Prisoner Complaint)

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NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access
to electronic court files. Under this rule, papers filed with the court should no? contain: an individual’s full
social security number or full birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security number; the year of an
individual’s birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements,
or any other materials to the Clerk’s Office with this complaint.

| In order for your complaint to be filed, it must be accompanied by the filing fee or an application to
_ proceed in forma pauperis.

 

 

 

 
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I.

The Parties to This Complaint

A. The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach

 

 

 

 

 

additional pages if needed.
Name Qn Clow Se
All other names by which you have been known:
bi Bon
ID Number 1411
Current Institution Sir
Address VIS Pierce WA.

 

Etec lool, 1 ws

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
Make sure that the defendant(s) listed below are identical to those contained in the
above caption. For an individual defendant, include the person’s job or title (if known)
and check whether you are bringing this complaint against them in their individual
capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

 

 

 

 

Name Michel Steven ph nSow
Job or Title Fox ie Off)
(if known)
Shield Number
Employer ac . ¢
Address

Penton Woclonc, Ma 49022
(2 Individual capacity W Official capacity

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Defendant No. 2
Name bephe Veke alice. Wepastme at -
Job or Title Police Depa: Sound
(if known)
Shield Number
Employer
Address RBaaloo Harlan M44 ott
(1 Individual capacity a Official capacity

Defendant No. 3

 

 

 

 

 

 

Name Rev mer County Sa\

Job or Title Toil Howse

(if known)

Shield Number

Employer Prxcnen Coxaty | Cis of Beatin todos | St.Sssech
Address

O Individual capacity ta Official capacity

Defendant No. 4

Name City af Benton Har boc

Job or Title
(if known)

Shield Number
Employer
Address Penbun Herbs, MI, 47027

 

 

 

 

© Individual capacity i Official capacity

 

 
 

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I. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights,
privileges, or immunities secured by the Constitution and [federal laws].” Under Bivens v. Six
Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1 971), you may sue
federal officials for the violation of certain constitutional rights.

A. Are you bringing suit against (check all that apply):

0 Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)
B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or

immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If you
are suing under section 1983, what federal constitutional or statutory right(s) do you

claim is/are being violated by state or local officials? Dur tothe Qu. WA amencimont, wh feel

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are buiten Harboe officer firecl vl was alse Sentenced 15 a your Auk hte ice S achor's.

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional
rights. If you are suing under Bivens, what constitutional right(s) do you claim is/are
being violated by federal officials?

 

 
 

 

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D. Section 1983 allows defendants to be found liable only when they have acted “under
color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or
the District of Columbia.” 42 U.S.C. § 1983. If you are suing under section 1983,
explain how each defendant acted under color of state or local law. If you are suing
under Bivens, explain how each defendant acted under color of federal law. Attach

additional pages if needed oy
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I. Prisoner Status
Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee

Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

Other (explain)

vo ge oo

 

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally
involved in the alleged wrongful action, along with the dates and locations of all relevant
events. You may wish to include further details such as the names of other persons involved in
the events giving rise to your claims. Do not cite any cases or statutes. If more than one claim
is asserted, number each claim and write a short and plain statement of each claim in a separate
paragraph. Attach additional pages if needed.

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A. If the events giving rise to your claim arose outside an institution, describe where and
when they arose.

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Loma Yar Vebicle OO Once ah was déewn ho bald Wis ures my ACM Ue 2h Serene Ke

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B. If the events giving rise to your claim arose in an institution, describe where and when
they arose.

(hie ben housed in Berrien Covnhy dal ot was Aenitd medical otlen}ion

te mY Wounds cove by Offices Drason » eP wos fed things a was alleqic to ,an harrassed by fk OfFicer's
G4 Phe al house cause in fhew bers “ul got ane at fhee's tired,"

C. What date and approximate time did the events giving rise to your claim(s) occur?

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D. What are the facts underlying your claim(s)? (For example: What happened to you?
Who did what? Was anyone else involved? Who else saw what happened?)

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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, if any, you required and did or did not receive.

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VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
cases or statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.

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VIL. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “(njo action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed
if you have not exhausted your administrative remedies.

A.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional
facility?

w Yes
O

No

Lf yes, name the jail, prison, or other correctional facility where you were confined at
the time of the events giving rise to your claim(s).
wf WAS outed aA Berrien County

Spl ihuvr wt was acrasseal con Weateal unfairly:

Does the jail, prison, or other correctional facility where your claim(s) arose have a
grievance procedure?

Oo Yes
ou No
oO Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where
your claim(s) arose cover some or all of your claims?

0 Yes
Ww No

oO Do not know

If yes, which claim(s)?

 
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Dz

Did you file a grievance in the jail, prison, or other correctional facility where your
claim(s) arose concerning the facts relating to this complaint?

O Yes

ao No

Lf no, did you file a grievance about the events described in this complaint at any other
jail, prison, or other correctional facility?

0 Yes

mE No

If you did file a grievance:
1. Where did you file the grievance?

2. What did you claim in your gnevance?

3. What was the result, if any?

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4. What steps, if any, did you take to appeal that decision? Is the gnevance

process completed? If not, explain why not. (Describe all efforts to appeal to
the highest level of the grievance process.)

F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

Thire iS no gritoanee Prouess 19 Bercden County Sail.

2. If you did not file a grievance but you did inform officials of your claim, state
who you informed, when and how, and their response, if any:

wh jrformed Sevecal nurses Ook Wr bane af Yu inudent , an wh was bold Mad Ye
Cawd only dus hot Yu couny alowed Shara fo dus!

G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies.

(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of your administrative remedies.)

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VOL Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court
without paying the filing fee if that prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious

physical injury.” 28 U.S.C. § 1915(g).
To the best of your knowledge, have you had a case dismissed based on this “three strikes
rule”?

Yes

O
a No

If so, state which court dismissed your case, when this occurred, and attach a copy of the order
if possible.

A. Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action?

oO Yes
ey No
B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7

below. (If there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format.)

 

 

 

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and
State)

3. Docket or index number

 

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4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

O Yes
O No

Lf no, give the approximate date of disposition.

 

7. What was the result of the case? (For example: Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

C. Have you filed other lawsuits in state or federal court otherwise relating to the
conditions of your imprisonment?

0 Yes
a No

Dz If your answer to C is yes, describe each lawsuit by answering questions 1 through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another

page, using the same format.)

 

 

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and
State)

3. Docket or ‘index number

 

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A.

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4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

CO Yes
O No

If no, give the approximate date of disposition.

 

7. What was the result of the case? (For example. Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

 

 

IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for.
further investigation or discovery; and (4) the complaint otherwise complies with the .
requirements of Rule 11.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: December iZ , 202).

Signature of Plaintiff den Mand J

Printed Name of Plaintiff Kon Calovec Ae.
Prison Identification # 979717
Prison Address 9025 Preyer bol.

Frat bach, MI, YS023
City State Zip Code
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Additional Information:

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